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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )           CASE NO. 8:05CR252
                                             )
      vs.                                    )
                                             )                    ORDER
JACKIE GARCIA,                               )
                                             )
                    Defendant.               )



      This matter is before the Court on the Unopposed Motion for Continuance of

Sentencing Schedule filed by the Defendant, Jackie Garcia (Filing No. 100).

      For good cause shown, the Motion shall be granted.

      IT IS ORDERED:

      1.     The Unopposed Motion for Continuance of Sentencing Schedule filed by

             the Defendant, Jackie Garcia (Filing No. 100) is granted;

      2.     Sentencing is rescheduled before District Judge Laurie Smith Camp on

             the 10th day of April, 2006, at the hour of 3:30 p.m. in Courtroom No. 2,

             Third Floor, Roman L. Hruska Courthouse, 111 S. 18 th Plaza, Omaha,

             Nebraska.

      Dated this 28rd day of March, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
